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                       UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF FLORIDA - JACKSONVILLE DIVISION

 THOMAS COOK and EMANUEL BERMUDEZ,                    Civil Action No. 3:16-cv-673-BJD-JRK
 individually and on behalf of all others similarly
 situated,                                            Judge: Hon. Brian J. Davis
                               Plaintiff,
         vs.                                          Magistrate Judge: Hon. James R. Klindt

 PALMER, REIFLER & ASSOCIATES, and WAL-
 MART STORES, INC.,
                      Defendants.

                 MOTION FOR SERVICE AWARD AND FOR
             AN AWARD OF ATTORNEYS’ FEES AND EXPENSES
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       I.    INTRODUCTION AND SUMMARY OF THE LITIGATION,
                     MEDIATION AND SETTLEMENT

        Plaintiff, Emanuel Bermudez, individually and as representatives of the Class, submit this

 motion and memorandum in support of the proposed service award and award for attorneys’ fee

 and expense that is part of the nationwide class action settlement (“Settlement”) reached between

 Mr. Bermudez, and Defendants Palmer, Riefler & Associates (“PRA”), and Walmart, Inc. [ECF

 No. 171-1]. Plaintiff’s claims arise under the Telephone Consumer Protection Act (“TCPA”), 47

 U.S.C. § 227.

        Under the Agreement, Defendants will pay Three Million, Five Hundred Thousand Dollars

 ($3,500,000.00) into a non-reversionary Settlement Fund. The Settlement Fund will be divided

 pro rata among all Settlement Class Members who submit a timely claim, after payment of the

 costs of notice and administration and the court-approved attorneys’ fee and class representative

 incentive awards. None of the Settlement Fund will revert to Defendants.

        The monetary relief secured on behalf of the Settlement Class is substantial. Each

 Settlement Class Member who submits a timely claim form will receive a pro rata share of the

 $3,500,000 Settlement Fund. Plaintiff estimates the pro rata share for each class member who

 submits a valid claim would equal $1,900 at a five percent claim rate and $957 at a ten percent

 claim rate. This compares to a potential statutory damages recovery of $500 per call allowed by

 TCPA (and up to treble if willful). The monetary relief is even more favorable after considering

 that if Walmart was not liable for PRA’s calls, PRA would not be able to pay a class judgment due

 to its financial condition. The class would also obtain nothing if certification was denied.

        As provided in the notice to the Class and consistent with Eleventh Circuit law, which

 determines fee awards from a common fund on a percentage-of-the-fund basis, Class Counsel

 petitions the Court for a fee award equal to one-third of the Settlement Fund, which is $1,165,500

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 plus $58,725.94 for reimbursement for the expenses they incurred. The notice informed the class

 of the exact amount of fees sought both as a percentage and dollar amount. Specifically it advised

 the class that the fee sought would be: “An award of attorneys’ fees and costs to Class Counsel, in

 an amount equal to one third of the settlement fund, not to exceed $1,165,500.00 plus expenses,

 as approved by the Court.” See Appendix 1-class notice at ¶ 7. Similarly, the notice also advised

 the class, Plaintiff would seek $20,000, as a service award. Id. This service award is well deserved

 as Mr. Bermudez substantively participated in this case including communicating with counsel,

 participating in discovery, being deposed and attending mediation. In fact, Mr. Bermudez was

 fired for taking the day off to attend the first mediation in this case. Finally, Mr. Bermudez turned

 down substantial individual settlement offers to fight for the class at a time when his co-plaintiff,

 Mr. Cook accepted an individual settlement offer. To date, no class member has objected to any

 portion of the attorney fees sought or the service award.

        Accordingly, Class Counsel hereby move for a service award of $20,000 and a fee award

 of one third of the settlement fund, which equals $1,165,500.00 plus $58,725.94 for reimbursement

 for the expenses counsel incurred in prosecuting the class claims.

        A.      TCPA

        The “[v]oluminous consumer complaints about abuses of telephone technology . . .

 prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 370-71

 (2012). Congress found that “automated or prerecorded calls are a nuisance and an invasion of

 privacy, regardless of the type of call,” and decided that “banning” such calls made without consent

 was “the only effective means of protecting consumers from this nuisance and privacy invasion.”

 Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394, 2394-95

 (codified at 47 U.S.C. § 227).

        Accordingly, the TCPA makes it unlawful to make any call using an ATDS or an artificial
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 or prerecorded voice to any telephone number assigned to cellular telephone service unless the call

 is made “for emergency purposes” or with the “prior express consent of the called party.” 47

 U.S.C. § 227(b)(1)(A)(iii).

         The TCPA creates a private right of action for persons affected by violations and provides

 for statutory damages in the amount of $500 per violation, which the Court may treble if a violation

 is willful. 47 U.S.C. §227(b)(3).

         Pursuant to the TCPA, Plaintiff alleged he received prerecorded robocalls that PRA placed

 on behalf of Walmart to collect monies allegedly due to Walmart as a result of shoplifting, even

 though Plaintiff was not the person that Defendants were trying to reach. Plaintiff contends that

 these prerecorded calls violated the TCPA because they were made to third parties that were

 designated as wrong numbers or made after a request to stop calling such that there would not be

 consent for these calls. Defendants vigorously deny these allegations. The proposed Settlement

 would resolve all claims in this action. 1

         As explained in detail in the following section, this class action was filed on May 31, 2016.

 ECF No. 1. This Settlement was not reached until after extensive discovery, two rounds of class

 certification briefing, Walmart’s motion for summary judgment, expert discovery and Daubert

 motions relating to those experts and not until two mediations were held, a year apart, with the

 second mediation occurring in September 2018. Even then, it took several months of negotiations

 to work out the terms of the class settlement.




 1
  Capitalized terms in this motion are meant to have the same meaning as in the Settlement
 Agreement, unless otherwise noted.

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        B. THE LITIGATION

        This case has taken years and significant litigation to resolve. This class action was filed

 on May 31, 2016. ECF 1. An Amended Complaint filed November 4, 2016 [ECF 22], a Second

 Amended Complaint filed March 30, 2017 [ECF 43], and a Third Amended Complaint was filed

 August 30, 2017. ECF 59. After extensive discovery described below, there were two rounds of

 briefing on Class Certification with Plaintiff’s first Class Motion filed October 20, 2017. ECF 70.

 Defendants’ filed a Joint Response November 13, 2017. ECF 81. Plaintiff filed a Reply (with

 leave) on November 21, 2017 ECF 86. Plaintiff’s Motion for Class Certification was denied

 without prejudice January 3, 2018 ECF 95

        Plaintiff then filed his Amended Class Motion on February 23, 2018. ECF 108. Defendants

 each filed separate Responses on March 9, 2018 [ECFs 115-116], and Plaintiff filed his Reply

 (with contested leave) on March 23, 2018. ECF 135. Both sides filed numerous Supplemental

 Authority. ECF Nos 149, 153, 156, 157.

        The parties also litigated Walmart’s Motion for Partial Summary Judgment, filed February

 22, 2018. ECF 104. Plaintiff responded to the Motion for Summary Judgment filed March 15,

 2018. ECF 125. Walmart filed their Reply on April 3 2018 and it then filed Supplemental

 Authority. ECF No 139 & 148.

        Plaintiff also filed a Motion to Exclude the Expert Report of Kostyun on February 22, 2018

 [ECF 105], PRA’s Response to the Motion to Exclude was filed March 8 2018 [ECF 113], with

 Plaintiff’s Reply filed March 27, 2018. ECF 139.

        The rulings for the above motions were subsequently stayed pending the second mediation.

        On July 24, 2019, this Court granted preliminary approval and set May 28, 2020 as the date

 of Final Approval Hearing, which is almost exactly four years since this case was first filed. ECF.

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                                                 4
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         C. DISCOVERY

         The Parties engaged in extensive discovery and conducted numerous conferences relating

  to such. Plaintiff served several sets of written Discovery Requests to Defendants that required

  numerous conferrals and heavy supplementations through contentious negotiations to obtain the

  necessary information.

         This supplementation included substantial call records that Plaintiff obtained from

  Defendants, as well as third parties. These call records were then analyzed by the Parties’ experts.

         There were also numerous depositions that resulted in significant travel. While Plaintiff’s

  and PRA’s depositions were conducted in Florida, Wal-Mart’s deposition took place in Arkansas,

  Plaintiff’s expert Mr. Biggertsaff’s deposition occurred in South Carolina, Defendants’ Experts

  Mr. Kostyun occurred in Connecticut, and third party witness Genesys in Massachusetts.          See

  Declaration of Keith J. Keogh (“Keogh Decl.”) attached as Appendix 2, ¶ 15.

         Even after Preliminary Approval was granted Plaintiff engaged in discovery where he

  subpoenaed ten telephone carriers for class contact information on December 19, 2018. Id. at ¶ 16.

  On February 8, 2019, Plaintiff sent a second subpoena to eight of the carriers. Id. at ¶ 16. After

  numerous conferrals with counsel for the carriers, Plaintiff obtained the class contact information.

  See Agreed Motion to Compel Verizon to produce filed August 5 2019 at ECF No. 179; Agreed

  Motion to Compel New Cingular and Cricket (ATT) filed August 26, 2019 at ECF No. 183; and

  Agreed motion to compel T-Mobile filed November 27, 2019 at ECF No. 196.

         This discovery also resulted in contested discovery motion practice. See Motion to Compel

  Straight Talk filed August 13 2019 at ECF 180; Granted in Part November 4 2019 at ECF 195.

         D. THE MEDIATIONS

        The Settlement is the product of substantial and active arms’ length negotiations that took
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  place over years. On September 29, 2017, the Parties unsuccessfully participated in private

  mediation with mediator Mark A. Buckstein in Southern Florida pursuant to Court order. ECF

  No. 53. Plaintiff lost time off work to travel to Boca Raton for this mediation, which resulted in

  him losing his job.

        Almost a year later on September 20, 2018, the Parties traveled to Texas to participate in a

  second private mediation with mediator Hesha Abrams pursuant to Court order. ECF No. 164.

  As a result of that mediation session, the Parties reached an agreement to settle the Action.

        It is worth noting that there is no “clear sailing” agreement in this settlement relating to

  attorney fees. Instead, after the parties agreed to the class relief, they only agreed that Class

  Counsel would petition the Court for a service award and an award of attorneys’ fees and expenses.

  ECF No. 171, p.4, ¶E. Pursuant to the Settlement and the Court’s Order granting Preliminary

  Approval, Plaintiff respectfully submits this motion and memorandum for a service award and an

  award of attorney fees and expenses.

       II.      THE PROPOSED FEE AND EXPENSE AWARD ARE REASONABLE

             Courts have long recognized when counsel’s efforts result in the creation of a common

  fund that benefits class members, counsel has a right to be compensated from that fund for their

  successful efforts in creating it. See Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980) (“lawyer

  who recovers a common fund … is entitled to a reasonable attorneys’ fee from the fund as a

  whole”). Boeing’s held:

             Their right to share the harvest of the lawsuit upon proof of their identity, whether or not
             they exercise it, is a benefit in the fund created by the efforts of the class representatives
             and their counsel. Unless absentees contribute to the payment of attorney's fees incurred
             on their behalves, they will pay nothing for the creation of the fund and their representatives
             may bear additional costs. The judgment entered by the District Court and affirmed by the
             Court of Appeals rectifies this inequity by requiring every member of the class to share
             attorney's fees to the same extent that he can share the recovery Since the benefits of the
             class recovery have been "traced with some accuracy" and the costs of recovery have been
             "shifted with some exactitude to those benefiting.
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  Id. at 481.

          The Eleventh Circuit has followed Boeing and held: “[i]t is well established that when a

  representative party has conferred a substantial benefit upon a class, counsel is entitled to an

  allowance of attorneys’ fees based upon the benefit obtained.” In re Checking Acct. Overdraft

  Litig., 830 F.Supp.2d 1330, 1358 (S.D. Fla. 2011) (awarding about $123,000,000.00 in fees in a

  common fund settlement), citing Camden I Condo. Ass’n v. Dunkle, 946 F.2d 768, 771 (11th Cir.

  1991) and Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980); see also Muransky, 905 F.3d at

  1217.

          Here, the reasonableness of the fee award is confirmed by examining it as a percentage of

  the settlement, as well as under the various factors established for evaluating fee requests in the

  Eleventh Circuit (the Johnson/Camden I factors). See Muransky v. Godiva Chocolatier,Inc., 905

  F.3d 1200, 1217 (11th Cir. 2018)(“[A]ttorneys’ fees awarded from a settlement fund shall be based

  upon a reasonable percentage of the fund established for the benefit of the class.”) opinion vacated

  and superseded on other grounds, 922F.3d 1175 (11th Cir. 2019), reh'g en banc granted, opinion

  vacated, 939 F.3d 1278 (11th Cir.2019) (quoting Camden I, 946 F.2d at 774); (affirming a third of

  the common fund as the fee award in a consumer class action).

          A.     The Fee Amount Is Reasonable as a Percentage of the Total Settlement
          As explained in the class notice, the Settlement provides for payment of Class Counsel’s

  fee award from the settlement fund on a percentage-of-the-fund basis. This is an appropriate basis

  for determining the award because, in this circuit, “attorneys’ fees awarded from a common fund

  shall be based upon a reasonable percentage of the fund established for the benefit of the class.”

  Muransky, 905 F.3d at 1217, quoting Camden I, 946 F.2d at 774; see also see also Cooper v.

  NelNet, Inc., 14-cv-314, ECF No. 85, p.5, ¶11 (M.D. Fla. Aug. 4, 2015) and Encarnacion v. J.W.


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  Lee, Inc., 2015 U.S. Dist. LEXIS 144858 at *14 (S.D. Fla. Oct. 22, 2015) (“using the ‘percentage

  of recovery’ method [to determine the attorneys’ fee award] … is consistent with the dictates of

  the Eleventh Circuit.”), citing Camden I, 946 F.2d at 771 (bracketed text added).

          In addition, the requested fee of one-third of the fund easily falls within the range of

  reasonableness, which can be as high as 50% in this Circuit. See Seghroughni v. Advantus Rest.,

  Inc., 2015 U.S. Dist. LEXIS 64602 at *2 (M.D. Fla. May 13, 2015) (“An attorney’s fee ... which

  is one-third of the settlement fund ... is fair and reasonable…”); Cabot E. Broward 2 LLC v. Cabot,

  2018 U.S. Dist. LEXIS 192706 at *20 (S.D. Fla. Nov. 9, 2018) (citing “19 cases from this Circuit in

  which attorneys’ fees amounting to 33% or more of a settlement fund were awarded,” including

  settlements of $310 million, $77.5 million, $75 million, $40 million, and $25 million); see also Waters,

  190 F.3d at 1295-96 (Eleventh Circuit affirmed a 33.33% fee award ($13.33 million) in a $40 million

  settlement that, unlike here, required unclaimed funds to be paid back to the defendant); Wolff v. Cash

  4 Titles, 2012 U.S. Dist. LEXIS 153786 at *13 (S.D. Fla. Sept. 26, 2012) (“One-third of the

  recovery is considered standard in a contingency fee agreement.”); and see Camden I, 946 F.2d at

  774-775 (“an upper limit of 50% of the fund may be stated as a general rule, although even larger

  percentages have been awarded.”).

          Indeed, a one-third percentage award was approved in multiple recent consumer class

  actions in this Circuit as well as affirmed by the Eleventh Circuit in Muransky. See Muransky,

  supra; Guarisma v. Microsoft Corp., 15-cv-24326-CMA, ECF No. 79, pp.7-8, ¶g.-¶j., and ¶14

  (S.D. Fla. Oct. 27, 2017); Legg v. Laboratory Corporation of America Holdings, No. 14-cv-61543-

  RLR, ECF No. 227, p.7 (S.D. Fla. Feb. 18, 2016); Legg v. Spirit Airlines, Inc., No. 14-cv-61978-

  JIC, ECF No. 151, ¶15 (S.D. Fla. Aug. 2, 2016). It is also commonly awarded in TCPA class

  actions. See Martin v. Dun & Bradstreet, Inc., 12-215 (N.D. Ill. Jan. 16, 2014) (Dkt. No. 63) (one-

  third of total payout); Hanley v. Fifth Third Bank, No. 12-1612 (N.D. Ill.) (Dkt. No. 87) (Awarding
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  attorneys’ fees of one-third of total settlement fund); In re Capital One, 80 F. Supp. 3d 781 (N.D.

  Ill. 2015) (36% of the first $10 million of the settlement) (Holderman, J.); Martin v. JTH Tax, Inc.,

  No. 13-6923 (N.D. Ill. Sept. 16, 2015) (Shah, J.) (38% of total fund); Kolinek v. Walgreen Co.,

  311 F.R.D. 483, 501 (N.D. Ill. 2015) (Kennelly, J.)(36% of the fund net admin costs).

         In short, Plaintiff’s fee request as a percentage is reasonable and well within the range the

  Eleventh Circuit has allowed.

         B.      The Proposed Fee Award Is Also Reasonable Under Johnson/Camden I
         In cases in which the fees sought exceed 25% of the fund, the Eleventh Circuit endorses

  using the factors articulated Johnson v. Georgia Highway Expr., Inc., 488 F.2d 714 (5th Cir. 1974),

  to confirm the reasonableness of the award. See Muransky, 905 F.3d at 1217; see also Camden I,

  946 F.2d at 775. The Johnson/Camden I factors are (1) the time and labor required; (2) the novelty

  and difficulty of the issues; (3) the skill requisite to perform the legal service properly; (4) the

  preclusion of other employment by the attorney; (5) the customary fee; (6) whether the fee is

  contingent; (7) time limitations imposed by the circumstances; (8) the amount involved and results

  obtained; (9) the experience, reputation, and ability of the attorneys; (10) the “undesirability” of

  the case; (11) the nature and length of the professional relationship with the client; and (12) awards

  in similar cases. Camden I, 946 F.2d at 772, n.3. These factors confirm the reasonableness of the

  proposed fee award here.

                 1. The Case Involved Difficult Issues; the Risk of Nonpayment and Not
                    Prevailing on the Claims Was High.
         The second, sixth, and tenth Johnson/Camden I factors—the novelty and difficulty of the

  issues, whether the fee is contingent, and the “undesirability” of the case, respectively—are

  interrelated and support the proposed award.

         This case is novel and difficult on several levels. First, it is an open issue as to whether the

  Court would certify the class. This is not an empty risk as several courts in this district have denied
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  class certification in similar TCPA cases involving calls to the wrong party. Compare Reyes v.

  BCA Fin. Servs., 2018 U.S. Dist. LEXIS 106449 (S.D. Fla. June 26, 2018)(granting class

  certification in wrong number class) with Sliwa v. Bright House Networks, LLC, 2019 U.S. Dist.

  LEXIS 167805 (M.D. Fla. Sep. 27, 2019) (Denying certification for TCPA wrong number class)

  and Wilson v. Badcock Home Furniture, 329 F.R.D. 454 (M.D. Fla. 2018)(Same).

         In addition, there was a possibility that the Court would grant Walmart’s motion for

  summary judgment or the fact finder concludes that Walmart is not liable for calls made by PRA.

         And assuming Plaintiff prevailed on certification and the merits, the resulting damage award

  itself presents a novel issue. Some courts view awards of aggregate, statutory damages with

  skepticism and consider reducing such awards—even after a plaintiff has prevailed on the merits—

  on due process grounds. See, e.g., Aliano v. Joe Caputo & Sons - Algonquin, Inc., 2011 U.S. Dist.

  LEXIS 48323 at *13 (N.D. Ill. May 5, 2011) (“Such an award, although authorized by statute,

  would be shocking, grossly excessive, and punitive in nature.”) but see Phillips Randolph Enters.,

  LLC v. Rice Fields, No. 06 C 4968, 2007 U.S. Dist. LEXIS 3027, *7-8 (N.D. Ill. Jan. 11, 2007)

  (“Contrary to [Defendants’] implicit position, the Due Process clause of the 5th Amendment does

  not impose upon Congress an obligation to make illegal behavior affordable, particularly for

  multiple violations.”).

         In addition to these myriad challenges, the ability to recover fees and expenses here has

  always been contingent on a successful outcome. Class Counsel had to advance the fees and

  expenses, and risked receiving nothing in return. This is important because:

         A determination of a fair fee for Class Counsel must include consideration of the
         contingent nature of the fee, the wholly contingent outlay of out-of-pocket sums by
         Class Counsel, and the fact that the risks of failure and nonpayment in a class action
         are extremely high.




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  Pinto v. Princess Cruise Lines, Ltd., 513 F.Supp.2d 1334, 1339 (S.D. Fla. 2007). Indeed, “[a]

  contingency fee arrangement often justifies an increase in the award of attorney’s fees.” In re

  Checking Acc’t Overdraft Litig., 830 F.Supp.2d at 1364, quoting In re Sunbeam Sec. Litig., 176

  F.Supp.2d 1323, 1335 (S.D. Fla. 2001). The risk was enhanced here by the fact that Class Counsel

  were up against a well-heeled defendant with sophisticated class action defense counsel, and the

  difficulty of proving willfulness. Accordingly, “[c]ases recognize that attorneys’ risk is ‘‘perhaps

  the foremost’ factor’ in determining an appropriate fee award.” Pinto, 513 F.Supp.2d at 1339

  (collecting cases).

         The case’s novelty, difficulty and contingent nature also demonstrate its undesirability.

  Like this case, prior TCPA class actions required substantial litigation activity where class

  certification has been denied in this District. See Sliwa v. Bright House Networks, LLC, 2019 U.S.

  Dist. LEXIS 167805 (M.D. Fla. Sep. 27, 2019) (Denying certification for TCPA wrong number

  class) and Wilson v. Badcock Home Furniture, 329 F.R.D. 454 (M.D. Fla. 2018)(Same).

         Few lawyers will take a case that consumes significant attorney time, involves uncertain

  questions, and requires them to potentially advance substantial amounts of time and out-of-pocket

  expenses and risk getting nothing, especially given the inherent possibility of failing to certify the

  class, the risk of losing on summary judgment or at trial, and the risk of losing any victory on

  appeal, provided little incentive to take these cases.

         Finally, although Class Counsel achieved a great result for the class, that was anything but

  certain when they took the case, as evidenced by the varying opinions on the TCPA. Further, Class

  Counsel has had success in some TCPA and consumer class actions, but stood to recover zero or

  nominal amounts in others. E.g., Wilson supra and Sliwa supra as well as Flaum v. Buth-Na-

  Bodhaige, Inc., 15-cv-62695, ECF No. 67 (S.D. Fla.) (although it was the first-filed case, the class

  claims were settled with gift cards in a later-filed, competing class action after a mediation in the
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  first action); Kirchein v. Pet Supermarket, Inc., 297 F.Supp.3d 1354, 1355-56 (S.D. Fla. 2018)

  (defendant successfully moved to dismiss case for lack of standing after agreeing to settlement and

  after settlement granted preliminary approval).2 There is certainly no guarantee of success at the

  class certification stage, on the merits if the case is litigated, or on any appeal that may follow.

  Accordingly, this factor also weighs in favor of approving the proposed fee award. See In re

  Checking Account Overdraft Litig., 830 F.Supp.2d at 1364 .

                 2. Class Counsel Achieved an Excellent Result for the Class.
         The eighth Johnson/Camden I factor looks to the amount involved in the litigation “with

  particular emphasis on the ‘monetary results achieved’ in the case” by class counsel. Allapattah

  Servs., Inc. v. Exxon Corp., 454 F.Supp.2d 1185, 1202 (S.D. Fla. 2006); see also Swedish Hosp.

  Corp. v. Shalala, 1 F.3d 1261, 1269 (D.C. Cir. 1993) (“In common fund cases … the monetary

  amount of the victory is often the true measure of success…”).

         Here, the parties’ mediated agreement provides each Settlement Class Member who submits

  a timely claim form will receive a pro rata share of the $3,500,000 Settlement Fund. Plaintiff

  estimates the pro rata share for each class member who submits a valid claim would equal $1,900

  at a five percent claim rate and $957 at a ten percent claim rate. This compares to a potential

  statutory damages recovery of $500 per call allowed by TCPA (and up to $1500 if willful).



  2
    Class actions are inherently risky. For example in another recent case Class Counsel is involved
  in, the class was decertified two years after certification and after notice had been sent to the Class,
  which resulted in Class Counsel incurring hundreds of thousands of dollars in notice costs, plus
  the additional cost to send notice of the decertification. See Appendix 2 (Declaration of Keith J.
  Keogh) at ¶14, citing Johnson v Yahoo!, Inc., 2018 U.S. Dist. LEXIS 23564 (N.D. Ill. Feb. 13,
  2018) (order decertifying class after notice); Braver v Northstar, 17-cv-00383-F (D. Ok 2020)(Co-
  Defendant filing Bankruptcy after class certification, notice to class and judgment); See Kinnamon
  v. Ditech Financial, LLC., 16-646 JAR, ECF 211 (E.D. Mo. February 26, 2019) (staying case due
  to bankruptcy proceeding where class certification and summary judgment were fully briefed and
  awaiting ruling). Subsequently, Ditech filed bankruptcy after years of litigation including expert
  discovery and after class certification and summary judgment were pending.
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         Here, the expected amount per class member is significantly more than virtually every

  TCPA class settlement approved in this Circuit and elsewhere. See James v. JPMorgan Chase

  Bank, N.A., No. 8:15-CV-2424-T-23JSS, 2017 WL 2472499, at *2 (M.D. Fla. June 5, 2017)

  (holding class counsel's result of “$81 per class member who submitted a claim equals or exceeds

  the typical award in a TCPA class action.”); Markos v. Wells Fargo Bank, N.A., No. 1:15-cv-

  01156-LMM, 2017 U.S. Dist. LEXIS 17546, at *11 (N.D. Ga. Jan. 30, 2017) (finding $24 per

  class member to be “an excellent result”); Wojcik v. Buffalo Bills, Inc., Case No. 8:12-cv-02414-

  SDM-TBM (M.D. Fla. Aug. 25, 2014) (class claimants to receive $57.50-$75.00 gift card); In re

  Enhanced Recovery Co., 13-md-2398-RBD-GJK (M.D. Fla. July 29, 2014) at DE 123, p. 1 (only

  injunctive relief for class) and DE 124 (settlement granted final approval); Hashw v. Dep't Stores

  Nat'l Bank, 182 F.Supp.3d 935, 944 (D. Minn. 2016) (Kyle, J.) (approving a TCPA settlement that

  yielded $33.20 per claimant); In re Capital One TCPA Litigation, 12-cv-10064 (MDL No. 2416)

  (N.D. Ill. Feb. 12, 2015) (granting final approval where each claimant would be awarded $39.66)

  (Holderman, J.); Steinfeld v. Discover Fin. Svcs. 12-cv-01118 (N.D. Cal.) (Final Approval of

  $46.98 to each claimant.); Kramer v. Autobytel, No. 10-cv-02722, 2012 U.S. Dist. LEXIS 185800

  (N.D. Cal. Jan. 27, 2012) (approving $12.2 million settlement to benefit 47 million class

  members); Malta v. Fed. Home Loan Mortg. Corp., No. 10-cv-1290, 2013 U.S. Dist. LEXIS 15731

  (S.D. Cal. Feb. 5, 2013) (preliminarily approving $17.1 million settlement to 5,887,508 class

  members; final approval granted at Dkt. 91); Adams v. AllianceOne Receivables Mgmt. Inc., No.

  08-cv-00248, Dkt. Nos. 116 & 137 (S.D. Cal. Sept. 28, 2012) (approving $9 million settlement to

  benefit 6,696,743 class members); Palmer v. Sprint Nextel Corp., No. 09-cv-01211, Dkt. Nos. 84

  & 91 (W.D. Wash. Oct. 21, 2011) (approving $5.5 million settlement to benefit 18.1 million class

  members).

         Accordingly, this factor weighs strongly in favor of the proposed fee award.
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                 3. The Time and Labor Required, Preclusion from Other Employment and
                    the Time Limits Imposed Justify the Cost and Fee Amount.
         The first, fourth, and seventh Johnson/Camden I factors – the time and labor, preclusion of

  other employment, and time limitations imposed, respectively – are also interrelated inquires and

  each support the reasonableness of the request. Class Counsel engaged in litigation against a well-

  heeled defendant and sophisticated defense counsel. The work spanned four years of litigation and

  included counsel’s pre-suit investigation, preparing the complaint, briefing class certification and

  summary judgment, conducting significant written and document discovery, engaging and

  presenting an expert, deposing multiple corporate representatives and Defense experts, engaging

  in Daubert motion practice, moving for class certification, briefing summary judgment twice,

  preparing for and attending two separate full-day mediations (including the detailed mediation

  memorandum required by L.R. 16.2(d)(1)(C)), conducting additional extensive negotiations

  beyond the mediation to reach the actual settlement, securing preliminary approval of the

  settlement, and executing a campaign involving a eighteen subpoenas to identify the class

  members. Further, Class Counsel will be communicating with class members well after Final

  Approval, if granted, as there will be substantial communications regarding payments and accepted

  claims. All of this work diverted substantial time and resources from other matters. See Yates v.

  Mobile Cnty. Pers. Bd., 719 F.2d 1530, 1535 (11th Cir. 1983) (the expenditure of time “necessarily

  had some adverse impact upon the ability of counsel for plaintiff to accept other work, and this

  factor should raise the amount of the award.”) (rec. of special master); see also Stalcup v. Schlage

  Lock Co., 505 F.Supp.2d 704, 708 (D. Colo. 2007) (noting that “the Johnson court concluded that

  priority work that delays a lawyer’s other work is entitled to a premium.”)

         Finally, this settlement reflects Class Counsel’s experience in handling large TCPA cases.

  Class Counsel knew the work that achieving a comparable outcome would take based on their


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  success in prior TCPA case referenced above, what that work would yield, the issues they faced at

  every stage, the potential recovery to be had, and the chance of achieving it. This experience

  enabled Class Counsel to convince Defendants not only that Class Counsel were adequate to the

  task and willing to do what it took to achieve an excellent result, but that they genuinely understood

  what the case was worth given the law, facts and risks (for both sides). Even then, the case did not

  settle until after the close of discovery, after Plaintiff filed his second motion for class certification,

  after the parties briefed summary judgment and after the second mediation over a year after the

  first mediation.

          The above factors also support the proposed award.

                  4. The Requested Fee is Consistent with Other Consumer Class Settlements.
          The fifth and twelfth Johnson/Camden I factors, the customary fee and awards in similar

  cases, also support approval. Plenty of consumer class actions – again, including many consumer

  cases in this Circuit – granted one-third percentage-of-the-fund awards. See Muransky supra.

  (Affirming one third of the settlement in consumer statutory class action over class member

  objections.)(Vacated on other grounds); Atkinson v. Wal-Mart Stores, Inc., 2011 U.S. Dist. LEXIS

  150274 at *19 (M.D. Fla. Dec. 29, 2011) (approving fee award of one-third of the common fund);

  Guarisma, 15-cv-24326-CMA, ECF No. 79, pp.7-8, ¶g.-¶j., and ¶14; Lab, 14-cv-61543-RLR, ECF

  No. 227, ¶13 (S.D. Fla. Feb. 18, 2016); Spirit, 14-cv-61978-JIC, ECF No. 151, ¶14 and ¶15 (S.D.

  Fla. Aug. 2, 2016); Choo, 15-cv-81487-BB, ECF No. 97, p.7, ¶g. and ¶23 (S.D. Fla. May 9, 2017);

  Muransky, 15-cv-60716-WPD, ECF No. 99, ¶12.j. and ¶14 (S.D. Fla. Sept. 28, 2016), aff’d

  Muransky, 905 F.3d at 1206, 1217; and e.g Wolff, 2012 U.S. Dist. LEXIS 153786 at *13 (“One-

  third of the recovery is considered standard…”); Dear v. Q Club Hotel, LLC, 2018 U.S. Dist.

  LEXIS 42787 at *11 (S.D. Fla. Mar. 14, 2018) (“A review of the case law reveals that a 33.3% fee



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  award is a consistent award in class action common fund cases.”). Accordingly, this factor also

  favors the proposed fee award.

                  5. This Case Required a High Level of Skill.
          The remaining Johnson/Camden I factor – the skill required to perform the legal services

  properly, and the experience, reputation, and ability of the attorneys, all confirm that the fees and

  expenses sought are reasonable. As shown, Class Counsel achieved a settlement that confers

  substantial monetary benefits on class despite litigating against a sophisticated and well-financed

  defendant represented by top-tier counsel. See In re Sunbeam Sec. Litig., 176 F.Supp.2d at 1334

  (“in assessing the quality of representation, courts have also looked to the quality of the opposition

  the plaintiffs’ attorneys faced.”)

          This outcome was made possible by Class Counsel’s extensive experience in litigating class

  actions of similar size, scope and complexity. Class Counsel regularly engage in complex litigation

  involving consumer issues, and they have been appointed class counsel in numerous cases. See

  Appendix 2 (Keogh Decl.) at ¶2-¶3, ¶6, ¶21-¶22, ¶28-¶32; Appendix 3 (Howard Decl.) at ¶11-¶12;.

  Thus, the Johnson/Camden I factors confirm the proposed attorneys’ fee award is reasonable.

  Pursuant to Fed. R. Civ. P. 23(h), 52(a) and 54(d)(2), it should be approved.

          C.      The Expenses Incurred Are Reasonable and Should Be Approved.
          The settlement also permits Class Counsel to seek recovery of expenses incurred on behalf

  of the Class. This figure totals $59,117.14, largely consisting of expenses related to mediations,

  experts, depositions, and the year-long subpoena campaign. See Appendix 2 (Keogh Decl.) at ¶25;

  Appendix 3 (Howard Decl.) at ¶13. None are for overhead-type items such as photocopying,

  research, telephone, meals, etc. Thus, counsel’s expenses also should be approved. See, e.g., Lab.,

  14-cv-61543-RLR, ECF No. 227 at pp.6-7 (S.D. Fla. Feb. 18, 2016) (granting 1/3 percentage fee

  award, plus expenses); Spirit, 14-cv-61978-JIC, ECF No. 151, ¶14(g) and ¶15 (S.D. Fla. Aug. 2,

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  2016) (same); Choo, 15-cv-81487-BB, ECF No. 97, ¶23 (S.D. Fla. May 9, 2017) (same);

  Muransky, 15-cv-60716-WPD, ECF No. 99, ¶13-¶14 (S.D. Fla. Sept. 28, 2016) (same); Wolff,

  2012 U.S. Dist. LEXIS 153786 at *19 (awarding fees plus $112,157 in expenses); and Dear, 2018

  U.S. Dist. LEXIS 42787 at *11 (awarding fees plus $304,684 in expenses).

      III.       THE PROPOSED SERVICE AWARD IS PROPER

             Service awards or incentive payments are commonly awarded to class representatives for

  their service to the class in vindicating their rights and enabling them to secure relief on their

  common claims, as contemplated by Federal Rule 23. See Muransky, 905 F.3d at 1218 (“Many

  circuits have endorsed incentive awards and recognize them as serving the purposes of Rule 23.”)

  (citations omitted)(vacated on other grounds).

             Plaintiff respectively requests an award of $20,000 from the fund, which is well within the

  range of reasonableness. See Cabot E. Broward 2 LLC, 2018 U.S. Dist. LEXIS 192706, *23, 28

  (approving $50,000 per plaintiff, noting “[t]ogether, the requested awards total $100,000, or 0.1%

  the amount recovered for the Class, which is well within the range of incentive awards in other

  cases.”) (collecting cases approving incentive awards ranging from $15,000 to $1.76 million); see

  also Cooper v. NelNet, Inc., 14-cv-314, ECF No. 85, p.5, ¶11 (M.D. Fla. Aug. 4, 2015) (approving

  a $25,000 incentive awarding TCPA case); Allen v. JPMorgan Chase Bank, NA, No. 13-8285

  (N.D. Ill. Oct. 21, 2015) (Dkt. 93 at 6) (Approving $25,000 service award in TCPA class

  settlement); Desai v. ADT Security Servs., Inc., No. 11-1925, DE 243 ¶ 20 (N.D. Ill. Feb. 27, 2013)

  (awarding $30,000 service awards in TCPA class settlement); and Muransky, 905 F.3d at 1219

  (affirming $10,000 incentive award in FACTA case that settled months after being filed, where

  plaintiff was not deposed and did not have to answer written discovery)(Vacated on other grounds).

             Plaintiff’s proposed award is justified not only for the results achieved for the class, but

  also his own personal efforts responding to written discovery, being deposed, and attending the
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  mediation. Dec at ¶ 15. Once again, Mr. Bermudez was fired for taking the day off to attend the

  first mediation in this case and he turned down substantial individual settlement offers to fight for

  the class at a time when his co-plaintiff, Mr. Cook accepted an individual settlement offer. Id.

  Plaintiff more than subjected himself to the “inconvenience and time delays” associated with a

  class action. See Muransky, 905 F.3d at 1219 (Where Dr. Muransky was not deposed and did not

  attend the mediation, service award was affirmed where “the District Court observed that Dr.

  Muransky ‘was subjecting himself to inconvenience and time delays that didn’t materialize as

  much as they might have, but they still were a possibility when he signed on as the class

  representative.’”)(Vacated on other grounds).

            Once again, the notice expressly advised the class of the exact amount Plaintiff would seek

  and to date, no class member has objected. This is not surprising, as the $20,000 will not have a

  material impact on class members’ pro rata share. Thus, the proposed awards should be approved.

      IV.      CONCLUSION

            For the foregoing reasons, Plaintiff respectfully requests the Court award him $20,000 as

  a service award and award class counsel attorney fees of $1,165,500.00, which is one third of the

  all cash common fund, plus $58,725.94 for reimbursement for the expenses class counsel incurred

  in prosecuting the class claims.

  Respectfully Submitted,
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on February 12, 2020, I electronically filed the foregoing

    document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

    is being served this date, in some other authorized manner for those counsel or parties who are

    not authorized to receive electronically Notices of Electronic Filing.


                                                  By: /s/ Keith J. Keogh
                                                     Keith J. Keogh, Esq




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